   Case 4:22-cr-40007-JPG Document 1 Filed 04/05/22 Page 1 of 2 Page ID #1
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                                                                          ~ . l .;hl S Ii "ii t:.. V        u ~ LV
                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

                      Plaintiff,                   CRIMINAL NO.
               v.
                                                 Title 18, United States Code, Sections
MICHAEL E. PIERCE,                               922(g)(l) and 924(d)

                      Defendant.

                                        INDICTMENT
                                                                             FILED
                                                                              APR O5 2022
THE GRAND JURY CHARGES:
                                                                        CLERK, U,S. DISTRICT COURT
                                                                       SOUTHERN DISTRICT OF ILLINOIS
                                           COUNTl                            BENTON OFFICE

                              FELON IN POSSESSION OF A FIREARM

       On or about Sep tember 17, 2021, in Williamson County, Illinois, within the Southern
District of Illinois, the defendant
                                      MICHAEL E. PIERCE
knowing tha t he had been convicted of a crime punishable by imprisonment for a term
exceeding one year, did knowingly possess a firearm, that is a Springfield Armory XDM 9mm
semi-automatic handgun, said firearm having been shipped or b.'ansported in interstate or
foreign commerce, in violation of Title 18, United States Code, Section 922(g)(l).


                               FIREARM FORFEITURE ALLEGATION

       1.      The allegations contained in Count 1 above are hereby realleged and
incorporated by reference for tl1e purpose of alleging forfeiture pursuant to Title 18, United
States Code, Section 924(d) and Title 28, United States Code, Section 2461(c).
       2.      Upon conviction of tl1e above offense in violation of Title 18, United States
Code, Section 922(g), tl1e defendant
                                      MICHAEL E. PIERCE
shall forfeit to tl1e United States, pursuant to Title 18, United States Code, Section 924(d) and
Title 28, United States Code, Section 2461(c), any firearm and ammunition involved or used
in the knowing commission of tl1e offense, including, but not limited to:
                                               1
    Case 4:22-cr-40007-JPG Document 1 Filed 04/05/22 Page 2 of 2 Page ID #2



         a Springfield Armory XDM 9mm semi-automatic handgun, bearing serial
         number MG847294, and all ammunition con tained therein;

all pmsuant to Title 18, Uniled States Code, Section 924(d) and Title 28, United States Cod e,
Section 2461(c).




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<::"A--1 ,   1   J,-   STEVEN WEIN HOEFT
Ol)\LU_ N.,            Date: 2022.04.04
                       16:02:33 -05'00'

STEVEN D. WEINHOEIT
United States Attorney



a
CAS~ ~ BLOODWORTH
                   3~~
Assistant United States Attorney

Recommended Bond: Detention




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